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A091    (Rev. 11111) Criminal Complaint



                                          UNITED STATES DISTRICT COURT
                                                                      for the
                                                 EASTERN DISTRICT OF MISSOURl

                   United States of America                              )
                                   v.                                    )
                                                                         )       Case No.    4:20 MJ 6130 PLC
             CHRISTOPHER THOMAS GASTON
                                                                         )
                                                                         )
                                                                         )      SIGNED AND SUBMITTED TO THE COURT FOR
                                                                         )      FILING BY RELIABLE ELECTRONIC MEANS
                             Defendant(s)


                                                      CRIMINAL COMPLAINT

           I, the complainant      in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                         June 3, 2020                 in the county of              st. Louis City      in the
        Eastern          District of             M_is_so_u_rI_'     , the defendant(s)   violated:

              Code Section                                                         Offense Description

18:922(g)( 1)                                      Felon in Possession of a Firearm




          This criminal complaint is based on these facts:

                                                         SEE ATTACHED AFFIDA VIT




          o   Continued on the attached sheet.                    I state under the penalty of perjury that the foregoing is true and correct.


                                                                                      SJa ..:P~
                                                                                            Daniel Zwiesler, Special Agent, FBI

                                                                                            Printed name and title
Sworn to before me and signed in my presence.                          Sworn to, attested to, and affirmed before me via reliable electronic
                                                                       means pursuant to Federal Rules of Criminal Procedure 4.1 and 41


Date:
                  06/03/2020
                                                                                Patricia L. Cohen
                                                                                                       Judge's signature

City and state:                           St. Louis, Missouri                   Honorable Patricia L. Cohen, U.S. Magistrate Judge
                                                                                                     Printed name and title
